         Case 23-09001 Document 348 Filed in TXSB on 01/17/24 Page 1 of 1




                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS


In re:                                           §
Serta Simmons Bedding LLC et al                  §            Civil Action No. 4:23cv2173
         Debtor                                  §
                                                 §          Bankruptcy Case No. 23bk90020
Citadel Equity Fund Ltd.                         §
        Appellant                                §


                                     Record Transmitted
        The bankruptcy clerk has transmitted the record for this appeal to the district court. See
Fed. R. Bankr. P. 8010 (b). Unless the district court orders otherwise, the following deadlines
apply. See Fed. R. Bankr. P. 8018.
1. The appellant’s brief must be filed within 30 days after entry of this notice.
2. The appellee’s brief must be filed within 30 days after service of the appellant’s brief.
3. The appellant may file a reply brief within 14 days after service of the appellee’s brief, but a
   reply brief must be filed at least 7 days before scheduled argument.
Date: January 17, 2024
                                                      Nathan Ochsner, Clerk of Court
                                                      H. Lerma
                                                      Deputy Clerk
